          Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 1 of 6




April 4, 2023                                                                          Via CM/ECF
Re:    Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.)
Dear Judge Donato:
        Plaintiffs respectfully request relief from a serious, ongoing discovery problem that has
already prejudiced them, and that Meta has refused to remedy. Pursuant to this Court’s order, Meta
certified on December 19, 2022, that it had (with a discrete exception) substantially completed its
document production. The parties then began scheduling depositions. Yet despite certifying that it
had substantially completed its document production, Meta has for approximately two years
withheld from review and production in this case several hundred thousand documents, based on
a privilege review Meta now concedes to be badly flawed. Meta’s partial re-review of these same
documents in the FTC’s antitrust suit led to a 60% downgrade rate, and ended up with an 11th-
hour (March 21, to be precise) production in this case of nearly 30,000 previously withheld
documents—thousands of which were pertinent to then-imminent, and in some cases, already
completed, depositions. Yet when Plaintiffs asked Meta to review the rest of the wrongfully
withheld documents and to work with Plaintiffs to mitigate the prejudice, Meta called Plaintiffs’
proposal a “nonstarter.” The parties met and conferred on March 30, 2023, and reached impasse.
        On April 2, 2021, Judge Koh, then presiding over this action, ordered Meta to “produce to
Plaintiffs the documents Facebook produced to the Federal Trade Commission and the United
States House of Representatives within 30 days.” Dkt. 11. In early May 2021, Meta made that
production (“FTC CID production”), which comprised approximately 3 million, already-produced
documents collected from several dozen current and former Meta employees’ files during the
FTC’s prior antitrust investigation into Meta. In June 2021, Meta served on Plaintiffs a privilege
log with 1,046,992 entries, representing documents withheld or redacted from its FTC CID
production based on supposed claims of attorney-client privilege, work product, or both.
        The FTC CID production’s contours have impacted Plaintiffs’ discovery strategy
throughout this action. Meta insisted its FTC CID production be the foundation from which all
other document discovery in this case must flow. When Plaintiffs served document requests—
Advertiser-specific, Consumer-specific, and joint—Meta insisted it would not search for and
produce documents covering substantive topics Meta claimed were the subject of its FTC CID
production. When the parties negotiated custodians and search terms, Meta asserted it would not
repeat search parameters it used to collect, search, and review the documents ultimately produced
as part of the FTC CID production. Meta affirmatively pressed Plaintiffs to identify custodians
whose documents had not “already been collected” as part of the FTC investigation, carved out
responsiveness dates for “overlapping” custodians to remove date ranges already collected in the
FTC CID production, and used that production as a shield in the parties’ search term negotiations.
        Plaintiffs now know why Meta took the above positions—which continue to this day.
When Meta collected, reviewed, and produced documents to the FTC during its investigation,
Meta improperly withheld hundreds of thousands of documents as allegedly privileged or work
product, when in fact they were not. As Meta’s own lawyers conceded two weeks ago in federal
court, Meta’s privilege calls throughout its 1-million-entry investigational privilege log were badly
flawed. See FTC v. Meta Platforms, Inc., No. 1:20-cv-03590-JEB (D.D.C.), Dkt. 257. Indeed, a
court-guided re-review of approximately 100,000 entries from this log revealed that sixty percent
of the re-reviewed documents—ninety percent of which were withheld completely—were non- or
less-privileged. See id. at 11-15. It is not clear (yet) the precise date on which Meta and its lawyers
          Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 2 of 6
                                                                            FILED UNDER SEAL


discovered that Meta had improperly designated hundreds of thousands of documents during its
FTC investigation review, but by taking the position in this case that it would not re-review any
documents previously reviewed as part of the FTC investigation, Meta has kept the near 1 million
documents on its FTC privilege log from ever being independently reviewed for this case.
        And Meta continued to keep the deficiencies in its FTC investigation privilege calls—and
the hundreds of thousands of not-actually-privileged documents implicated by these deficiencies—
out of this case for months after Meta indisputably knew its privilege log from the FTC
investigation was irredeemably flawed. A recent status report in the FTC case (id. at 13) reveals
that Meta agreed to re-review more than 100,000 documents on its investigation log—the same
log covering the same FTC CID production Meta re-produced to Plaintiffs—in or around late
November 2022, and that this review was actively underway when Meta told the Klein Plaintiffs
and this Court that its document production was substantially complete, for all custodians.
        It was at this time—when Meta was engaging in a re-review of its FTC investigation log
but also certifying its document production in Klein was substantially complete—that Meta
demanded Plaintiffs schedule and start fact depositions. Plaintiffs did indeed start fact depositions,
deposing (among other witnesses) Meta’s Dan Rose, David Wehner, Guy Rosen, Jay Parikh, Keval
Patel, John Fernandes, and Josh Grossnickle between February 2 and March 20, 2023. In the
middle of this, Plaintiffs made a discrete privilege challenge regarding a document redacting as
privileged a description by Sheryl Sandberg of her January 2018 visit to Netflix to “shadow” Reed
Hastings. The response from Meta was problematic: it produced the Sheryl Sandberg email along
with 20 GB of other redaction downgrades on March 20, and produced 27,857 previously withheld
documents on March 21. Among the previously withheld documents were several thousand that
included or referenced already-completed Meta deponents (2,795 for Mr. Wehner, 2,505 for Mr.
Rose, 795 for Mr. Rosen, 461 for Mr. Parikh, 335 for Mr. Grossnickle, 269 for Mr. Patel, and 68
for Mr. Fernandes). And these were hardly irrelevant or of even secondary importance.
        For example, Advertiser Plaintiffs assert as part of their monopoly maintenance claims that
between late 2016 and early 2018, Meta used deceptively-obtained competitive intelligence—
including information about users’ SSL-protected in-app actions on Snapchat obtained through
“man-in-the-middle” decryption on Onavo servers—to cripple the then-nascent advertising
business of Meta’s principal would-be social advertising rival, Snap. Compare PALM-014640328
(Jan. 2016 Sheryl Sandberg email: “Snapchat[] came up in every ads meeting and every casual ads
conversation” at Davos), with PALM-0093631966 (Apr. 2018 chat between Meta executives
describing Snapchat as “struggling on revenue, esp around the vertical stories ad format,” while
“Instagram will crush 1B this year” from stories ads); see also PALM-010629831 (July 22, 2016
email) (“We developed ‘kits’ that can be installed on iOS and Android that intercept traffic for
specific sub-domains, allowing us to read what would otherwise be encrypted traffic so that we
can measure in-app usage . . . . This is a ‘man-in-the-middle’ approach.”), and PALM-010629833
(attached presentation, discussing “Detection Avoidance (Masking)”). A consistent argument from
Meta about the foregoing scheme—repeated as recently as last month, in a brief to this Court—
was that Meta’s highest-level executives had nothing to do with it, such that Plaintiffs’ time
deposing those executives should be limited. But among the documents produced for the first time
on March 21, 2023, were:
•   A June 2016 email thread in which Mark Zuckerberg asks for “what data or research we have
    on the relative participation rates and usage in Snapchat for sending individual snaps vs sharing
    your story,” eliciting a response from now-COO Javier Olivan, copying C-suite executives

                                                  2
          Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 3 of 6
                                                                          FILED UNDER SEAL


    such as Colin Stretch and Chris Cox: “I will get back to this thread ASAP with an ETA to get
    that level of granularity in the data with some scale. In-app actions for apps that use SSL are
    not visible with our onavo apps but we are looking into other solutions.” PALM-016802538.
•   An email thread one week later in which Zuckerberg, Olivan, Sheryl Sandberg, Cox, Stretch,
    and other C-suite executives (including David Wehner and Dan Rose, both of whom had
    already been deposed at the time of Meta’s production) discuss how to obtain “valuable
    analytics” to help “trying to build a clone of Snapchat.” PALM-016805173.
        The above are just specific examples, on a single relevant subject, of documents produced
for the first time by Meta on March 21, 2023. These documents had nearly 28,000 companions—
thousands of which are clearly relevant to issues cutting across both Advertisers’ and Consumers’
cases. Worse yet, Meta still hasn’t re-reviewed several hundred thousand documents it withheld
as privileged in the FTC investigation and thus never reviewed for responsiveness in this case.
There are, based on Meta’s own analysis and admissions regarding its FTC investigation log, no
doubt hundreds of thousands of non-privileged documents in that group. And it unquestionably
includes thousands upon thousands of relevant—indeed, hot and unique—documents responsive
to Advertisers’ discovery requests, Consumers’ discovery requests, or both. Yet Meta to this day
refuses to re-review the remainder of its FTC investigation privilege calls—or even to engage
meaningfully on a protocol for doing so. This is despite Meta’s concession that its prior privilege
review and logging of the same, at-issue documents was flawed. When Plaintiffs contacted Meta
about this issue, Meta asserted it had no obligation to produce in this case anything it downgraded
from its FTC CID production—the same universe of documents Meta had insisted for two years
could not be re-reviewed, in any circumstance, for responsiveness here.
        Plaintiffs have incurred and will continue to incur significant prejudice from Meta’s
conduct with respect to its FTC investigation privilege calls. Depositions are underway. Many of
Meta’s downgrade productions that have occurred have come on the eve or near-eve of a witness’s
deposition (such as with Meta COO Javier Olivan), or worse, after that witness’s deposition. That
Meta has already downgraded so many of these documents suggests that many more would be
downgraded were Meta to complete re-review of the log’s remainder. This conclusion is also
consistent with Meta’s erroneous over-designation in the first place: another court recently
observed that Meta, as a company, apparently has engaged in a practice of over-designating
documents as privileged, whereby Meta “employees are taught to improperly ‘privilege’
documents based on their perceived sensitivity.” Cambridge Analytica MDL, No. 18-md-2843-
VC (N.D. Cal.), Dkt. 1104 at 47. Given Meta’s refusal to work cooperatively to mitigate this
prejudice, Plaintiffs respectfully request that the Court order that Meta:
    1. Promptly re-review all remaining entries—i.e., all entries not yet rereviewed—on its FTC
       investigational privilege log.
    2. Provide a date certain by which an amended privilege log will be produced, and complete
       production of all newly-identified downgraded documents will be made, in this case.
    3. Answer the following questions, which Meta has to-date refused to answer: (i) When did
       Meta internally determine that the documents it reproduced to Plaintiffs on March 20, 2023,
       and March 21, 2023, were non- or less-privileged? (ii) If Meta’s internal determinations
       differ for different documents or groups of documents, when was each respective
       downgrade decision made?
    4. Engage in good faith negotiations with Plaintiffs for appropriate deposition and schedule
       relief to mitigate the prejudice from Meta’s delayed production of downgraded documents.

                                                3
        Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 4 of 6
                                                                  FILED UNDER SEAL




                                      Respectfully submitted,

                                             By: Brian J. Dunne

SCOTT+SCOTT ATTORNEYS AT LAW LLP             BATHAEE DUNNE LLP

/s/ Amanda F. Lawrence                        /s/ Yavar Bathaee
Amanda F. Lawrence (pro hac vice)            Yavar Bathaee (CA 282388)
alawrence@scott-scott.com                    yavar@bathaeedunne.com
Patrick J. McGahan (pro hac vice)            Andrew C. Wolinsky (CA 345965)
pmcgahan@scott-scott.com                     awolinsky@bathaeedunne.com
Michael P. Srodoski (pro hac vice)           Adam Ernette (pro hac vice)
msrodoski@scott-scott.com                    aernette@bathaeedunne.com
156 South Main Street, P.O. Box 192          Priscilla Ghita (pro hac vice)
Colchester, CT 06415                         pghita@bathaeedunne.com
Tel.: (860) 537-5537                         Chang Hahn (pro hac vice)
                                             chahn@bathaeedunne.com
Patrick J. Coughlin (CA 111070)              445 Park Avenue, 9th Floor
pcoughlin@scott-scott.com                    New York, NY 10022
Carmen A. Medici (CA 248417)                 (332) 322-8835
cmedici@scott-scott.com
Hal D. Cunningham (CA 243048)
hcunningham@scott-scott.com                  Brian J. Dunne (CA 275689)
Daniel J. Brockwell (CA 335983)              bdunne@bathaeedunne.com
dbrockwell@scott-scott.com                   Edward M. Grauman (pro hac vice)
600 W. Broadway, Suite 3300                  egrauman@bathaeedunne.com
San Diego, CA 92101                          Andrew M. Williamson (CA 344695)
Tel.: (619) 233-4565                         awilliamson@bathaeedunne.com
                                             901 S. MoPac Expressway
Patrick J. Rodriguez (pro hac vice)          Barton Oaks Plaza I, Suite 300
prodriguez@scott-scott.com                   Austin, TX 78746
230 Park Avenue, 17th Floor                  (213) 462-2772
New York, NY 10169
Tel.: (212) 223-6444                         Allison Watson Cross (CA 328596)
                                             across@bathaeedunne.com
                                             3420 Bristol St., Ste 600
                                             Costa Mesa, CA 92626-7133

                                             Interim Co-Lead Counsel for the Advertiser
                                             Classes




                                         4
        Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 5 of 6
                                                                FILED UNDER SEAL


HAGENS BERMAN SOBOL SHAPIRO LLP           QUINN EMANUEL URQUHART & SULLIVAN, LLP

/s/ Shana E. Scarlett                      /s/ Kevin Y. Teruya
Shana E. Scarlett (Bar No. 217895)        Kevin Y. Teruya (Bar No. 235916)
Hannah Song (Bar No. 343110)              Adam B. Wolfson (Bar No. 262125)
715 Hearst Avenue, Suite 202              Claire D. Hausman (Bar No. 282091)
Berkeley, CA 94710                        Brantley I. Pepperman (Bar No. 322057)
Telephone: (510) 725-3000                 865 South Figueroa Street, 10th Floor
Email: shanas@hbsslaw.com                 Los Angeles, CA 90017-2543
                                          Telephone: (213) 443-3000
Steve W. Berman (pro hac vice)            Email: kevinteruya@quinnemanuel.com
1301 Second Avenue, Suite 2000                   adamwolfson@quinnemanuel.com
Seattle, WA 98101                                clairehausman@quinnemanuel.com
Telephone: (206) 623-7292                        brantleypepperman@quinnemanuel.com
Email: steve@hbsslaw.com
                                          Michelle Schmit (pro hac vice)
LOCKRIDGE GRINDAL NAUEN P.L.L.P.          191 N. Wacker Drive, Suite 2700
                                          Chicago, IL 60606
W. Joseph Bruckner (pro hac vice)         Telephone: (312) 705-7400
Brian D. Clark (pro hac vice)             Email: michelleschmit@quinnemanuel.com
Rebecca A. Peterson (Bar No. 241858)
Kyle J. Pozan (pro hac vice)              Manisha M. Sheth (pro hac vice)
Laura M. Matson (pro hac vice)            51 Madison Avenue, 22nd Floor
100 Washington Avenue South, Suite 2200   New York, NY 10010
Minneapolis, MN 55401                     Telephone: (212) 849-7000
Telephone: (612) 339-6900                 Email: manishasheth@quinnemanuel.com
Email: wjbruckner@locklaw.com
       bdclark@locklaw.com
       rapeterson@locklaw.com
       kjpozan@locklaw.com
       lmmatson@locklaw.com

                                          Counsel for the Consumer Class




                                          5
          Case 3:20-cv-08570-JD Document 737 Filed 03/23/24 Page 6 of 6
                                                                           FILED UNDER SEAL


                                   FILER ATTESTATION
       I am the ECF user who is filing this document. Pursuant to Civil L.R. 5-1(h)(3), I hereby

attest that each of the other signatories have concurred in the filing of the document.


Dated: April 4, 2023                    By: /s/ Brian J. Dunne
                                            Brian J. Dunne




                                                 6
